
In re Allen II, Lange Walker; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of St. Tammany, 22nd Judicial District Court Div. K, Nos. 2011-15433, 2011-14151; to the Court of Appeal, First Circuit, No. 2013 CW 0120.
Denied.
VICTORY, J., would grant.
HUGHES, J., would grant and assigns reasons.
HUGHES, J.,
assigning reasons.
Respectfully, I would grant the writ application. Applicant was found guilty of contempt of court and sentenced to 30 days jail time before his scheduled hearing date on that issue, and before the judgment upon which the contempt was based was reduced to writing and signed by the trial court. Applicant had been ordered to execute a vehicle title conveying ownership (not interim use) before the merits of the partition action were heard. Applicant was ordered to pay attorney’s fees; not authorized by La. R.S. 13:4611(d). Other procedural irregularities are alleged.
Criminal contempt of court must be strictly applied upon an unequivocal basis. Notice and due process are required.
